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  12                           UNITED STATES DISTRICT COURT
  13                          SOUTHERN DISTRICT OF CALIFORNIA

  14   ViaSat, Inc.,                              Case No. 3:16-cv-00463-BEN-JMA
       a Delaware corporation,
  15                                              ORDER GRANTING ACACIA
  16                      Plaintiff and Counter   COMMUNICATIONS, INC.’S
                                     Defendant,   MOTION TO FILE UNDER SEAL
  17                                              DOCUMENTS ASSOCIATED WITH
       v.
  18                                              THE JOINT MOTION FOR
       Acacia Communications, Inc.,               DETERMINATION OF DISCOVERY
  19   a Delaware corporation,                    DISPUTE NO. 3 [ECF No. 78]
  20
                      Defendant                   Dist. Judge: Hon. Roger T. Benitez
  21                  and Counter Claimant.       Mag. Judge: Hon. Jan M. Adler
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                                                  Case Initiated January 21, 2016
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   1          Good cause being shown to grant Acacia Communications, Inc.’s
   2   Motion to File Under Seal Documents Associated with its Joint Motion for a
   3   Discovery Determination No. 3, the Court hereby grants the motion.
   4   Accordingly, the following documents that Acacia electronically submitted
   5   shall be filed under seal:
   6          a. Exhibit 1 attached thereto, which is a copy of Exhibit 616 from the
   7              deposition of Mr. Chandrasekar Raj held on October 13, 2017.
   8          b. Exhibit 2 attached thereto, which is a copy of Exhibit 617 from the
   9              deposition of Mr. Raj held on October 13, 2017.
  10          c. Exhibit 3 attached thereto, which is a copy of Mr. Raj’s errata sheet
  11              dated December 4, 2017.
  12          d. Exhibit 4 attached thereto, which is a copy of excerpts from the
  13              deposition of Mr. Chandra Raj held on October 13, 2017.
  14          e. Exhibit 5 attached thereto, which is a copy of a non-disclosure
  15              agreement executed between ViaSat and a third-party.
  16          f. Exhibit 6 attached thereto, which is a copy of a portion of the non-
  17              disclosure agreement attached as Exhibit 5 along with
  18              corresponding metadata.
  19          g. Exhibit 7 attached thereto, which is a copy of an email chain
  20              between Mr. Raj and a third party.
  21          h. Exhibit 8 attached thereto, which is a copy of excerpts from the
  22              deposition of Dr. Paul Pruncal held on December 4, 2017.
  23          i. Exhibit 9 attached thereto, which is a copy of a declaration from
  24              Chandrasekar Raj.
  25   //
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   1          j. Exhibit 10 attached thereto, which is a copy of Dr. Paul Prucnal’s
   2              errata sheet dated January 16, 2018.
   3          IT IS SO ORDERED.
   4   Dated: February 15, 2018
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